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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


CARROLL INDEPENDENT SCHOOL                    §
DISTRICT,                                     §
                                              §
        Plaintiff,                            §
                                              §    Civil Action No. 4:24-cv-00461-O
v.                                            §
                                              §
UNITED STATES DEPARTMENT OF                   §
EDUCATION, et al.,                            §
                                              §
        Defendants.                           §


                                    FINAL JUDGMENT

       This Judgment is issued pursuant to Federal Rule of Civil Procedure 58(a).

       This action came on for consideration by the Court, and the issues having been duly

considered and a decision duly rendered,

       It is ORDERED, ADJUDGED, and DECREED that:

       1. The Court GRANTS Plaintiff’s Motion for Summary Judgment (ECF No. 58) and

           DENIES Defendants’ Cross-Motion for Summary Judgment (ECF No. 64).

       2. The Court VACATES and SETS ASIDE the Final Rule titled “Nondiscrimination on

           the Basis of Sex in Education Programs or Activities Receiving Federal Financial

           Assistance,” 34 C.F.R. § 106 (2024).

       3. All other relief not expressly granted herein is DENIED.

       SO ORDERED on this 19th day of February, 2025.


                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
